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                          IN T H E UNITED STATES DISTRICT COURT
                          FOR T H E NORTHERN DISTRICT O F TEXAS
                                      D A L L A S DIVISION

  MARIA OROZCO AND                                 §
  JOSE OROZCO,                                     §
                                                   §
          PLAINTIFFS,
                                                         C I V I L A C T I O N N O . 3:15-CV-01687-C
                                                   §
                                                   §                JURY DEMAND
  STATE FARM FIRE AND
  C A S U A L T Y COMPANY,                         §
                                                   §
         DEFENDANT.                                §

                     JOINT STIPULATION O F DISMISSAL W I T H P R E J U D I C E

         Plaintiffs Maria Orozco and Jose Orozco and Defendant State Farm Fire and Casualty

 Company hereby stipulate to the voluntary dismissal with prejudice of this matter, pursuant to

 Federal Rule of Civil Procedure 41(a)(l)(A)(ii). Therefore, Plaintiffs' claims against Defendant

 are hereby dismissed with prejudice, with each party to bear its own costs, if any.

         SO STIPULATED, this the        SD^dav of Q p f j . . 2015.
                                                Respectfully submitted,




                                                State Bar No. 24087984

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                                                 COUNSEL FOR DEFENDANT



                                   CERTIFICATE O F SERVICE

        This is to certify that on the XO^day of Qc+ol,tx-        , 2015, a true and correct copy of
 the foregoing was delivered to the following counsel of record by electronic service, and/or
 facsimile transmission and/or certified mail, return receipt requested:

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